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 6                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 7                                   AT SEATTLE
 8    MARCUS E. RUFFIN,
 9
                                 Petitioner,          Case No. C19-1575-RAJ
10
            v.
11                                                    ORDER DENYING PETITION FOR
      JEFFERY A. UTTECHT,                             WRIT OF HABEAS CORPUS
12
                                 Respondent.
13

14
           The Court, having reviewed petitioner’s petition for writ of habeas corpus,
15
     respondent’s answer to the petition, the Report and Recommendation of Mary Alice
16

17   Theiler, United States Magistrate Judge, any objections thereto, and the remaining record,

18   hereby finds and ORDERS:

19         (1)    The Report and Recommendation is approved and adopted;

20         (2)    Petitioner’s petition for writ of habeas corpus (Dkt. 12) is DENIED, and this
21   action is DISMISSED with prejudice;
22
           (3)    In accordance with Rule 11 of the Rules Governing Section 2254 Cases in
23

     ORDER DENYING PETITION FOR WRIT
     OF HABEAS CORPUS - 1
              Case 2:19-cv-01575-RAJ Document 24 Filed 10/21/20 Page 2 of 2




 1   the United States District Courts, a certificate of appealability is DENIED; and

 2          (4)    The Clerk is directed to send copies of this Order to petitioner, to counsel for
 3   respondent, and to the Honorable Mary Alice Theiler.
 4
            DATED this 21st day of October, 2020.
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 7
                                                       A
                                                       The Honorable Richard A. Jones
 8                                                     United States District Judge
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     ORDER DENYING PETITION FOR WRIT
     OF HABEAS CORPUS - 2
